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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------X
In re:

LIBOR-Based Financial Instruments
                                                                       ORDER
Antitrust Litigation.
                                                                11 MD 2262 (NRB)
This Document Applies to:
                                                              12 Civ. 1025 (NRB)
      Bondholder Plaintiff Action

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NAOMI REICE BUCHWALD
UNITED STATES DISTRICT JUDGE

      WHEREAS, the fairness hearing addressing the settlements in

the   above-captioned       class      actions     involving          the     Bondholder

Plaintiffs is scheduled for December 16, 2020 at 11:00 a.m.; and

      WHEREAS,   no     class    member    has    filed    an    objection       to   the

settlements that are the subject of the fairness hearing; and

      WHEREAS,    the     Bondholder       Plaintiffs      have        filed     written

submissions regarding the fairness, reasonableness, and adequacy

of those settlements; and

      WHEREAS,   the     Court     has    suspended       in-person          proceedings

because of health concerns related to the COVID-19 pandemic (20-

MC-622, ECF No. 1); and

      WHEREAS,   the     Court    reserved       the   right     to    determine      the

appropriate format for the fairness hearing (11-MD-2262, ECF No.

3101-19 ¶ 16); it is therefore

      ORDERED    that    the     fairness      hearing        shall     be     conducted

telephonically    on     the    date     and   time    that     it    was     previously
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scheduled, December 16, 2020 at 11:00 a.m.          Chambers will post

dial-in instructions on the MDL docket and the Non-Defendant OTC

Plaintiff action dockets on the morning of December 16, 2020.


Dated:   New York, New York
         December 1, 2020


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                                           NAOMI REICE BUCHWALD
                                       UNITED STATES DISTRICT JUDGE
